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 7
                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
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10
           In re AIDAVEL LOZANO LAIGO.                  CASE NO. MS05-0201JLR
11
                                                        ORDER
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14         Plaintiff Aidavel Lozano Laigo frequently files civil complaints and other papers
15 with the United States District Court for the Western District of Washington. On

16 December 8, 2005, the court entered an order imposing standing litigation restrictions on

17 Ms. Laigo (Dkt. # 1-2). The court’s standing litigation restrictions on Ms. Laigo provide,

18 inter alia:

19         If the court determines that the complaint meets the requirements of Fed. R.
           Civ. P. 8(a), it will direct the clerk to assign a civil case number and issue
20         summons. If the complaint does not meet the requirements of Fed. R. Civ.
           P. 8(a), the court will enter an order declining to treat the case as a civil
21         action.
22 (Standing Litig. Restrictions (Dkt. # 1) at 1.)


     ORDER - 1
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 1         In her proposed complaint, docketed on January 6, 2021, Ms. Laigo alleges

 2 unspecified acts of discrimination by the Social Security Administration, Seattle Public

 3 Utilities, Seattle City Light, Eye Associates, Amazon, and the Unemployment Office of

 4 the State of Washington. (1/6/21 Prop. Compl. (Dkt. # 122) at 1-2.) Ms. Laigo seeks

 5 damages in the amount of “$10,000,000,000,000,000,000 DOLLARS.” (Id. at 2.) She

 6 provides no facts in support of her allegations of discrimination. (See generally id.)

 7         Having reviewed Ms. Laigo’s proposed complaint and pursuant to the court’s

 8 standing litigation restrictions, the court declines to treat Ms. Laigo’s proposed complaint

 9 as commencing a civil action because she has failed to comply with the notice pleading

10 requirements of Federal Rule of Civil Procedure 8(a). The court DIRECTS the clerk not

11 to calendar, take any other action, or file any further pleading in this matter other than a

12 notice of appeal.

13         Dated this 11th day of January, 2021.

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                                                      A
                                                      JAMES L. ROBART
17                                                    United States District Judge

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     ORDER - 2
